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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

     In re: BOY SCOUTS OF AMERICA                               Chapter 11
     AND DELAWARE BSA, LLC,
                                                               Bankruptcy Case
                          Debtors.                             No. 20-10343 (LSS)

     NATIONAL UNION FIRE
     INSURANCE CO. OF PITTSBURGH,                              (Jointly Administered)
     PA, et al.,

     Appellants,
                                                                Case No. 22-cv-01237-RGA
                               v.

     BOY SCOUTS OF AMERICA
     AND DELAWARE BSA, LLC,


                    MOTION OF THE CERTAIN INSURERS
              FOR STAY OF FURTHER IMPLEMENTATION OF PLAN
               PENDING SUPREME COURT DECISION IN PURDUE

         1.      The undersigned Certain Insurers1 move this Court for a stay of further

 implementation of the Plan pending the Supreme Court’s forthcoming resolution of

 Harrington v. Purdue Pharma, L.P., Case No. 23-124 (2023) (“Purdue”). Purdue

 presents a critical question of bankruptcy law also implicated in this case—the

 permissibility of non-consensual releases to non-debtors—that may overturn Third

 Circuit precedent and determine whether the Plan that this Court affirmed on March

 28, 2023 can move forward.


 1
  Defined terms have the meanings set forth in the Certain Insurers’ briefs before this Court at D.I. 45 & 109.
 References to “D.I.” refer to filings in the District Court.
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       2.     Since the Plan was presented to this Court, the Supreme Court has

 called into question the authority of bankruptcy courts to grant non-consensual

 releases to non-debtors such as the Local Councils, Chartered Organizations, and

 Settling Insurers who received releases under the Plan. On August 10, 2023, the

 Supreme Court granted certiorari to resolve a circuit split on non-consensual non-

 debtor releases. See Certiorari Granted, Purdue, No. 23A87 (Aug. 10, 2023); see

 also D.I. 150 at 60. The Plan in this action and the plan in Purdue are virtually

 identical in their architecture: both have created settlement trusts funded with

 contributions from debtors and non-debtors and both provide for non-consensual

 releases of non-debtors.

       3.     The Supreme Court set an expedited briefing schedule in Purdue, with

 petitioner’s brief due on September 20, 2023, respondents’ briefs due on October

 20, 2023, and reply briefs due 30 days thereafter (or 10 days prior to argument). The

 Supreme Court scheduled argument in Purdue for the December 2023 argument

 session and stayed implementation of the Purdue bankruptcy plan pending this

 expedited review, signaling “a fair prospect that the Court would reverse” the

 Second Circuit decision approving the release to the non-debtors. See Merrill v.

 Milligan, 142 S. Ct. 879, 880 (2022) (Kavanaugh, J., concurring). The Certain

 Insurers respectfully submit that this Court should follow suit and stay further




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 implementation of the Plan until the Supreme Court has had an opportunity to

 examine this critical issue.

       4.     The standard for a stay pending appeal is readily met here. Given recent

 developments in Purdue and the Supreme Court’s stay of that bankruptcy plan, there

 is more than a reasonable chance that the Supreme Court will declare non-consensual

 non-debtor releases, such as those in the Plan, impermissible under the Bankruptcy

 Code. Such a decision would undermine the foundation of the Confirmation Order

 and almost certainly result in termination or substantial modification of this Plan.

       5.     Against this backdrop, the Trustee is moving rapidly ahead to

 implement the Plan in ways that directly implicate the non-debtor releases. The

 Trustee has initiated the claims distribution process and opened the claim portal to

 82,000 claimants, including for thousands of claims against the non-debtor Local

 Councils and Chartered Organizations—claims that in all likelihood will not be

 resolved under the current Plan if the Supreme Court strikes down non-debtor

 releases. Pushing forward on claims distributions at this juncture harms all parties

 by wasting resources on implementing a Plan that may not survive the Supreme

 Court’s decision in Purdue.

       6.     The Certain Insurers take no position on the merits of the arguments in

 the Purdue appeal here. The Supreme Court’s consideration of the appeal is

 nevertheless plainly a significant development since this Court last considered and



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 denied the parties’ motions to stay on April 11, 2023. See D.I. 193. As set forth in

 the motions recently filed by the Lujan Claimants (D.I. 222) and the Dumas &

 Vaughn Claimants (D.I. 223), the question presented in Purdue not only has the

 potential to invalidate a foundational principle of the Plan and Confirmation Order,

 but it will also have a profound impact on the issues presented on the appeal to the

 Third Circuit in this case. The Certain Insurers move separately to inform this Court

 of the harms that the Certain Insurers are likely to suffer if implementation of the

 Plan continues during the pendency of Purdue.

       7.     Since confirmation, the Trustee has sued around 90 non-settling

 insurers in the U.S. District Court for the Northern District of Texas under insurance

 policies issued not just to BSA, but also to the non-debtor Local Councils, arguing

 that their coverage defenses for abuse claims have been abrogated by the confirmed

 Plan. Complaint, Houser v. Allianz, Case No. 23-01592 (N.D. Tex. July 17, 2023),

 ECF No. 1 (the “Coverage Complaint”). The non-debtor Local Councils assigned

 these policies to the Trust in exchange for broad releases. If the releases provided

 to these non-debtors in the Plan are invalidated by the Supreme Court’s decision in

 Purdue, the non-debtors would presumably seek to recapture their policies so they

 are protected from claims that otherwise would have been covered by the releases,

 and the Trustee will lack not only the ability to resolve the underlying abuse claims




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 through the BSA distribution process, but also the authority to pursue insurance

 recoveries for those abuse claims on behalf of the non-debtors.

          8.       Before moving forward with implementation of the Plan, the reviewing

 courts and all parties involved in the Plan should have the benefit of the Supreme

 Court’s impending decision, which will clarify the law on non-debtor releases in

 bankruptcy plans under Chapter 11 of the Bankruptcy Code.

                                              BACKGROUND2

          9.       This case involves the Chapter 11 plan of the Boy Scouts of America

 (“BSA”), which provides in part for resolution of sexual abuse claims (the “Plan”).

 See D.I. 150 at 5. “The Plan ‘channels’ to the Settlement Trust all Abuse Claims

 against BSA, the Related Non-Debtor Entities, the Local Councils, certain Chartered

 Organizations, and those covered by insurance policies issued by the Settling

 Insurance Companies and provides for coextensive nonconsensual releases of the

 channeled Abuse Claims[.]” Id. at 5-6. “The Channeling Injunction and Releases

 are the ‘cornerstones of the Plan,’ and are necessary to ensure an equitable process

 by which abuse Survivors’ claims will be administered and paid” by the Trustee. Id.

 at 6; see id. at 19.



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   The Certain Insurers provided detailed factual background in their briefing before this Court and the Third Circuit
 and incorporate those submissions by reference. Given the Court’s instruction not to submit papers that are available
 on public dockets, the Certain Insurers have not attached copies of the appeal papers or the challenged decisions and
 orders from the bankruptcy court and this Court. The Certain Insurers will provide copies of any such papers requested
 by the Court.



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       10.    On March 28, 2023, this Court affirmed confirmation of the Plan. D.I.

 150. As relevant here, the Court concluded that the Plan’s assignment of insurance

 rights does not impermissibly abrogate the insurers’ contracts and that the Plan was

 proposed in good faith. See id. at 75-79, 123-155. Because an automatic stay under

 Federal Rule of Bankruptcy Procedure 8025 was set to expire on April 11, 2023,

 beginning on March 31, 2023, the Certain Insurers and other appellants filed

 emergency motions for a stay, arguing that their appeals raise significant questions

 and that, in the absence of a stay, BSA may argue it has substantially consummated

 the Plan during appeals to the Third Circuit, creating a substantial risk that the Third

 Circuit may decline to decide the merits of their appeals based on the “equitable

 mootness” doctrine. See D.I. 152 at 2, 7-12. Expedited briefing concluded on April

 7, 2023.

       11.    On April 11, 2023, this Court denied the stay motions, concluding

 among other things that “the Plan’s clear language preserves all of the Insurers’

 rights and defenses under their policies. . . .” D.I. 193 at 7. After granting a

 temporary emergency stay, the Third Circuit also declined a stay pending appeal.

 See, e.g., In re Boy Scouts of America, No. 23-1668 (3d Cir. Apr. 19, 2023), ECF

 No. 25. The Plan became effective on April 19, 2023. See Bankr. D.I. 11119. The

 parties proceeded to merits briefing before the Third Circuit, with appellants filing




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 opening briefs on July 24, 2023, and BSA and the plan proponents proceeded to

 commence implementation of the Plan.

       12.    On July 17, 2023, the Trustee, acting as assignee of BSA and the Local

 Councils, filed an action in federal court against the Certain Insurers seeking a

 declaration that the Certain Insurers’ contractual rights are now abrogated by the

 confirmed Plan and that they are liable for full coverage for the Abuse Claims,

 subject only to applicable attachment points and limits of liability. Coverage Compl.

 ¶¶ 119, 121, 124, 137.

       13.    Then, on August 10, 2023, the Supreme Court agreed to hear an appeal

 in Purdue to resolve the question of whether the Bankruptcy Code authorizes a court

 to approve, as part of a plan of reorganization under Chapter 11 of the Bankruptcy

 Code, a release that extinguishes claims held by non-debtors against non-debtor third

 parties, without the claimants’ consent. In granting this review, the Supreme Court

 recalled and stayed the mandate of the Second Circuit that affirmed the confirmation

 of Purdue’s bankruptcy plan. Certiorari Granted, Purdue, No. 23A87 (Aug. 10,

 2023). The Supreme Court has indicated that it will hear argument in Purdue on an

 expedited timeframe during the December 2023 argument session. Id.

                                   ARGUMENT

       14.    The Court should stay further implementation of the Plan until the

 Supreme Court clarifies the governing law in Purdue. In considering a motion to



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 stay or enjoin pending an appeal, the Court considers four factors: “(1) whether the

 stay applicant has made a strong showing that it is likely to succeed on the merits;

 (2) whether the applicant will be irreparably injured absent a stay; (3) whether

 issuance of the stay will substantially injure the other parties interested in the

 proceeding; and (4) where the public interest lies.” In re S.S. Body Armor I, Inc.,

 927 F.3d 763, 771 (3d Cir. 2019) (alteration and quotation marks omitted). The first

 two factors are “the most critical.” Id. at 772 (quoting Nken v. Holder, 556 U.S. 418,

 434 (2009)). Here, all four factors weigh heavily in favor of a brief stay of Plan

 implementation.

 I.       THE CERTAIN INSURERS ARE LIKELY TO SUCCEED ON THE
          MERITS.

          15.      It is now reasonably probable that the Supreme Court will invalidate

 the non-debtor releases that BSA has described as “essential to the success of the

 Plan,” casting the future of the Plan in substantial doubt. See Purdue, Case No. 23-

 124; D.I. 66 at 160.3 That the Supreme Court stayed the Purdue bankruptcy plan

 from moving forward when presented with the same issue strongly counsels in favor

 of this Court staying the Plan temporarily. The Supreme Court’s stay order in

 Purdue necessitated a finding that the appellants had “a fair prospect that the Court

 would reverse” confirmation of a plan releasing claims against non-debtors. Merrill,


 3
   The Certain Insurers take no position on the merits of the arguments in the Purdue appeal here, but reserve all rights
 arising from the resolution of that appeal by the Supreme Court.



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 142 S. Ct. at 880 (Kavanaugh, J., concurring) (emphasis added). A “fair prospect”

 that the Purdue appeal will succeed means a “reasonable chance” of success here as

 well, as this Plan is structured in the same manner as the plan under consideration in

 Purdue. See In re S.S. Body Armor I, 927 F.3d at 772 (movant need only demonstrate

 “a reasonable chance, or probability, of winning”) (quotation omitted).

       16.    In Purdue, the United States Solicitor General persuaded the Supreme

 Court that there is a fair prospect that non-debtor releases “cannot be reconciled with

 the Bankruptcy Code.” See Application for Stay, Purdue, Case No. 23-124, Appl.

 No. 23A87, at 18 (July 28, 2023). The Solicitor General argues this contention is

 supported by the “basic structure” of the Bankruptcy Code and the fact that Section

 524(g) is inapplicable in the Purdue case. Id. at 19. In seeking Supreme Court

 review, the Solicitor General cited this case as an example of how courts often

 authorize nonparty releases in mass tort bankruptcies. See id. at 16 (citing In re Boy

 Scouts of Am. & Del. BSA LLC, 650 B.R. 87, 135-43, 185 (D. Del. 2023)).

       17.    The Trustee’s recently filed lawsuit in the U.S. District Court for the

 Northern District of Texas confirms that resolution of the issues under consideration

 in Purdue will impact the Certain Insurers. See 3d Cir., Case No. 23-1668, ECF No.

 67 at 3-4, 34. In its coverage lawsuit, the Trustee is purporting to act on behalf of

 the Local Councils to seek coverage under policies assigned by non-debtors,

 including the Local Councils, in exchange for releases. Coverage Compl. ¶¶ 1, 110.



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 Thus, the Supreme Court’s stay of the Purdue bankruptcy plan to consider non-

 debtor releases indicates that there is a reasonable chance that the Trustee’s pursuit

 of the Certain Insurers under policies purportedly assigned by the Local Councils

 will also fail.

        18.    Against this backdrop, it is entirely possible that the Supreme Court in

 Purdue will substantially reshape the way in which mass torts are treated in

 bankruptcy proceedings, with direct implications for the Certain Insurers in this case.

 Accordingly, the Court should stay further implementation of the Plan until the

 Supreme Court issues its ruling.

 II.    THE CERTAIN INSURERS WILL BE IRREPARABLY HARMED IN
        THE ABSENCE OF A STAY.

        19.    As shown above, absent a stay, the Certain Insurers are likely to suffer

 irreparable harm from further implementation of the Plan pending the Supreme

 Court’s decision in Purdue.

        20.    It is undisputed that the hallmark of the Plan is the channeling of all

 Abuse Claims to the Trust, which is funded in large measure by non-debtors in

 exchange for releases. See D.I. 150 at 5, 16-17 (describing that the Trust is estimated

 to contain at least $2.46 billion in non-contingent assets, including contributions

 from the Local Councils ($640 million) and Settling Insurers (more than $1.6

 billion)).   These non-contingent contributions are now subject to a major

 contingency. If the Supreme Court finds that non-debtor releases are not permitted


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 by the Bankruptcy Code, the releases provided to the non-debtors and the

 contributions made in exchange for those releases will need to be unwound. These

 contributions were the result of “nearly two years” of mediation (D.I. 150 at 5), and

 there is no telling what contributions, if any, non-debtors will make to the Trust if

 they are no longer able to receive releases following the Supreme Court’s decision

 in Purdue.

       21.    The Trustee is taking steps to administer the Trust and to begin paying

 out Claims. For example, on August 17, 2023, a week after the Supreme Court’s

 grant of certiorari in Purdue, the Trustee announced that she would open the claims

 processing portal to the 82,000 Claimants. “Letter from the Settlement Trustee,”

 Scouting          Settlement          Trust         (Aug.          17,          2023),

 https://www.scoutingsettlementtrust.com/s. Doing so risks irreparable harm to all

 parties involved in the Plan because the amounts of the distributions made for Abuse

 Claims are premised on contributions to the Trust that are now seriously in doubt.

 If the Supreme Court finds that nonconsensual releases to non-debtors are not

 permissible, the claims distributions in a post-Purdue plan will be significantly

 different than what is in the current Plan. Even starting the claims distribution

 process could require significant legal and administrative costs to the Trust and other

 parties impacted by the bankruptcy—costs that will be wasted if the Plan needs to

 be restructured based on the Supreme Court’s decision in Purdue. This Court should



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 stay further implementation of the Plan until the parties have certainty on the scope

 and amount of the contributions to the Trust from non-debtors.

        22.   The Trustee’s actions to effectuate the Plan and begin paying claims

 from the Trust, while simultaneously seeking payment from the Certain Insurers on

 the theory that Certain Insurers’ coverage defenses have been abrogated, exacerbates

 the risk that BSA will argue, however incorrectly, that the appeals pending before

 the Third Circuit should be dismissed as equitably moot. See In re MTE Holdings,

 LLC, 2021 WL 4203339, at *4 (D. Del. Sept. 15, 2021). While the Certain Insurers

 expressly deny that the equitable mootness doctrine could apply here, they should

 not have to risk losing the full and fair consideration of the significant issues

 presented on appeal to the Third Circuit when the future of the Plan is in doubt.

 Staying further implementation of the Plan mitigates this risk and ensures that the

 Plan will be considered on its merits and in accordance with applicable precedent

 based on the forthcoming decision from the Supreme Court.

 III.   THE BALANCE OF EQUITIES FAVORS A STAY.

        23.   While denying a stay of further implementation of the Plan would

 significantly and irreparably harm the Certain Insurers and the other movants,

 issuing the stay would not cause substantial harm to other parties. See S.S. In re

 Body Armor I, 927 F.3d at 772 (courts balance the equities in granting a stay). The

 Trustee has already made progress in setting up the Trust. If a stay is granted but



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 ultimately dissolved, the Trustee can resume her work. Any delay should be

 relatively short because the Supreme Court has indicated that it will hear argument

 in Purdue in the December argument session. See San Diegans for the Mt. Soledad

 Nat’l War Mem’l v. Paulson, 548 U.S. 1301, 1303 (2006) (slight delay insufficient

 to deny stay pending appeal).

 IV.   THE PUBLIC INTEREST WEIGHS HEAVILY IN FAVOR OF A
       STAY.

       24.    Finally, the public interest favors entry of the requested stay by

 allowing for efficient resolution of the serious issues at stake in not one, but two

 appeals. The Supreme Court’s decision in Purdue implicates weighty questions

 regarding fundamental interpretation of the Bankruptcy Code and the permissibility

 of nonparty releases that are regularly incorporated into mass tort bankruptcy

 proceedings, including this one. Given that the public has a strong interest in

 “correct application of the law” (In re Nw. Missouri Holdings, Inc., 2015 WL

 3638000, at *3 (D. Del. June 11, 2015)), “especially where property rights are at

 stake” (In re Revel AC, Inc., 802 F.3d 558, 573 (3d Cir. 2015)), the public has an

 interest in a short stay so that a BSA plan can be implemented pursuant to the correct

 governing legal standards.

       25.    Continuing to implement the Plan risks a “one step forward, two steps

 back” approach that could impose inefficiencies on the process by wasting time and

 resources of the parties and the judiciary.         Proceeding expeditiously with


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 implementation of the Plan would be inconsistent with one of the primary aims of

 the Bankruptcy Code, which is to preserve the interests of creditors and other

 stakeholders by maximizing return on debts in an orderly, efficient, and equitable

 fashion. Integrated Sols., Inc. v. Serv. Support Specialties, Inc., 124 F.3d 487, 493

 (3d Cir. 1997). Instead, a stay facilitates this aim by ensuring that the Plan is not

 premised on non-debtor releases that may be struck down by the Supreme Court.

 Thus, the requested relief furthers the public’s interest in preserving and maximizing

 resources until Purdue provides a clear path forward in applying the correct

 governing law to BSA’s bankruptcy.




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                                  CONCLUSION
       26.   For the foregoing reasons, the Court should stay any further

 implementation of the Plan until the Supreme Court’s decision in Purdue is issued.

 Dated:      Wilmington, Delaware
             August 25, 2023

                                                 Respectfully Submitted,


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                      CERTIFICATE OF COMPLIANCE
 The foregoing motion complies with the type-volume limitation of Federal Rule of
 Bankruptcy Procedure 8013(f). A proportionally spaced typeface was used, as
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